             Case
              CaseMDL
                   1:23-cv-11669
                      No. 3083 Document
                                 Document71-3
                                          1 Filed
                                              Filed07/25/23
                                                    07/26/23 Page
                                                              Page1 1ofof3436




                          THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS

 ANNA M. MOORE and ASHLEY GWEN               Case No.
 LACOMBE, individually, and on behalf of all
 others similarly situated,                  CLASS ACTION COMPLAINT

                 Plaintiffs,

        v.

 PROGRESS SOFTWARE CORPORATION,

                 Defendant.                        JURY TRIAL DEMANDED


                               CLASS ACTION COMPLAINT

       Plaintiffs Anna M. Moore and Ashley Gwen Lacombe (“Plaintiffs”), individually and on

behalf of all others similarly situated (“Class Members”), bring this action against Progress

Software Corporation (“PSC” or “Defendant”), by and through their attorneys, and allege, based

upon personal knowledge as to their own actions, and based upon information and belief as to all

other matters, as follows.

                                   I.       INTRODUCTION

       1.       PSC is a Massachusetts-based software company that markets, sells, and supports

a wide variety of software products to private corporate and government entities throughout the

United States, including healthcare service providers and state DMV agencies.

       2.       One of PSC’s most popular and successful products is “MOVEit” a cloud hosting

and secure file transfer program/service.

       3.       As PSC’s healthcare industry clients and customers utilized the MOVEit

program/service, PSC collected, maintained, stored highly sensitive personal and medical

information pertaining to its customers’ patients, including, but not limited to: Social Security



                                               1
            Case
             CaseMDL
                  1:23-cv-11669
                     No. 3083 Document
                                Document71-3
                                         1 Filed
                                             Filed07/25/23
                                                   07/26/23 Page
                                                             Page2 2ofof3436




numbers, dates of birth, full names, addresses, telephone numbers, and driver’s license numbers

(“personally identifying information” or “PII”); and information regarding medical treatment,

diagnosis, and prescriptions, medical record numbers, health insurance information, and other

protected health information (“private health information” or “PHI”); and financial

account/payment card information (“financial account information”) (collectively “Private

Information”).

       4.        On May 31, 2023, PSC posted a notice on its website informing the public that it

had discovered a SQL injection vulnerability in the MOVEit program and that this vulnerability

had allowed unauthorized third-parties (i.e., cybercriminals) to access and obtain the vast stores of

highly sensitive Private Information stored within the MOVEit servers (the “Data Breach”).1

       5.        PSC has declined to send a notice of this Breach to affected individuals (the “Class

Members”). Instead, PSC’s affected customers have begun to notify their own customers, patients,

and other users of the Breach.

       6.        One of PSC’s customers is the Louisiana Department of Public Safety and

Corrections, Public Safety Services, Office of Motor Vehicles (“OMV”). Plaintiffs Moore and

Lacombe received email Notification from the OMV in mid to late July 2023 notifying them of

the Data Breach. The OMV Notice of Data Security Incident advised Plaintiffs Moore and

Lacombe that the files involved in the incident contained the personal information of individuals

who applied for and/or were issued a Louisiana driver’s license, identification card and/or vehicle

registration. The information varied by individual but included name, and one or more of the

following: address, date of birth, Social Security number; driver’s license, learner’s permit, or



1
 MOVEit Transfer Critical Vulnerability (May 2023) (CVE-2023-34362), Progress Community,
available at https://community.progress.com/s/article/MOVEit-Transfer-Critical-Vulnerability-
31May2023 (last accessed July 4, 2023).

                                                  2
             Case
              CaseMDL
                   1:23-cv-11669
                      No. 3083 Document
                                 Document71-3
                                          1 Filed
                                              Filed07/25/23
                                                    07/26/23 Page
                                                              Page3 3ofof3436




identification card number; height, eye color; vehicle registration information, and handicap

placard information.

       7.       Plaintiff Anna Moore is a holder of a valid Louisiana Driver’s License, and her

Private Information was compromised by the Breach.

       8.       Plaintiff Ashley Gwen Lacombe is a holder of a valid Louisiana Driver’s License,

and her Private Information was compromised by the Breach.

       9.       PSC, despite being a sophisticated software company, failed to invest in adequate

data security, and as a direct, proximate, and foreseeable result of its inexcusable failure to

implement reasonable security protections sufficient to prevent an eminently avoidable

cyberattack, unauthorized actors compromised its company networks and accessed its customers’

files containing highly sensitive Private Information.

       10.      PSC’s failure to promptly notify Plaintiffs and Class members that their Private

Information was exfiltrated, PSC has still declined to do so as of the date of this complaint, due to

PSC’s apparent security failures virtually ensured that the unauthorized third parties who exploited

those security lapses could monetize, misuse and/or disseminate that Private Information before

Plaintiffs and Class members could take affirmative steps to protect their sensitive information.

As a result, Plaintiffs and Class members will suffer indefinitely from the substantial and concrete

risk that their identities will be (or already have been) stolen and misappropriated.

       11.      PSC failed to take sufficient and reasonable measures to safeguard its data security

systems and protect highly sensitive data in order to prevent the Data Breach from occurring; to

disclose to its patients, and the public at large, that it lacked appropriate data systems and security

practices to secure Private Information; and to timely detect and provide adequate notice of the




                                                  3
             Case
              CaseMDL
                   1:23-cv-11669
                      No. 3083 Document
                                 Document71-3
                                          1 Filed
                                              Filed07/25/23
                                                    07/26/23 Page
                                                              Page4 4ofof3436




Data Breach to affected individuals. Due to PSC’s failures, Plaintiffs and millions of other

individuals had their Private Information compromised.

       12.      As a result of PSC’s negligent, reckless, intentional, and/or unconscionable failure

to adequately satisfy its contractual, statutory, and common-law obligations, Plaintiffs’ and Class

members’ Private Information was accessed and acquired by unauthorized third-parties for the

express purpose of misusing the data and causing further irreparable harm to their personal,

financial, reputational, and future well-being. Plaintiffs and Class members face the real,

immediate, and likely danger of identity theft and misuse of their Private Information, especially

because their Private Information was specifically targeted by malevolent actors.

       13.      Plaintiffs and Class members suffered injuries as a result of PSC’s conduct

including, but not limited to: lost or diminished value of their Private Information; out-of-pocket

expenses associated with the prevention, detection, and recovery from identity theft, tax fraud,

and/or unauthorized use of their Private Information; lost opportunity costs associated with

attempting to mitigate the actual consequences of the Data Breach, including but not limited to the

loss of time needed to take appropriate measures to avoid unauthorized and fraudulent charges;

time needed to change usernames and passwords on their accounts; time needed to investigate,

correct and resolve unauthorized access to their accounts; time needed to deal with spam messages

and e-mails received subsequent to the Data Breach; charges and fees associated with fraudulent

charges on their accounts; and the continued and increased risk of compromise to their Private

Information, which remains in PSC’s possession and is subject to further unauthorized disclosures

so long as PSC fails to undertake appropriate and adequate measures to protect their Private

Information. These risks will remain for the lifetimes of Plaintiffs and the Class.




                                                 4
             Case
              CaseMDL
                   1:23-cv-11669
                      No. 3083 Document
                                 Document71-3
                                          1 Filed
                                              Filed07/25/23
                                                    07/26/23 Page
                                                              Page5 5ofof3436




       14.      Accordingly, Plaintiffs bring this action on behalf of all those similarly situated to

seek relief from Defendant’s failure to reasonably safeguard Plaintiffs’ and Class members’

Private Information; its failure to reasonably provide timely notification that Plaintiffs’ and Class

members’ Private Information had been compromised by an unauthorized third party; and for

intentionally and unconscionably deceiving Plaintiffs and Class members concerning the status,

safety, location, access, and protection of their Private Information.

                                         II.     PARTIES

       15.      Plaintiff Anna Moore is a citizen and resident of Louisiana. Her Private Information

came into PSC’s possession through her being a licensed driver in the state of Louisiana. The

Louisiana OMV was one of PSC’s customers and used the MOVEit program to “securely” store

and transfer the sensitive information of all holders of Louisiana drivers’ licenses, Louisiana

identification cards, and/or Louisiana vehicle registrations. Plaintiff Moore’s Private Information

was among those compromised by the Data Breach.

       16.      Plaintiff Ashley Gwen Lacombe is a citizen and resident of Louisiana. Her Private

Information came into PSC’s possession through her being a licensed driver in the state of

Louisiana. The Louisiana OMV was one of PSC’s customers and used the MOVEit program to

“securely” store and transfer the sensitive information of all holders of Louisiana drivers’ licenses,

Louisiana identification cards, and/or Louisiana vehicle registrations. Plaintiff Lacombe’s Private

Information was among those compromised by the Data Breach.

       17.      Defendant PSC is a sophisticated software company that sells, markets, and

supports a wide variety of software products to private corporate and government entities

throughout the United States, including healthcare service providers. PSC is the current seller and

maintainer of the MOVEit cloud hosting and “secure” file transfer program. PSC is a



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                Case
                 CaseMDL
                      1:23-cv-11669
                         No. 3083 Document
                                    Document71-3
                                             1 Filed
                                                 Filed07/25/23
                                                       07/26/23 Page
                                                                 Page6 6ofof3436




Massachusetts corporation with its principal place of business at 15 Wayside Road, Suite 400,

Burlington, Massachusetts 01803.

                                III.    JURISDICTION AND VENUE

          18.      This Court has subject-matter jurisdiction pursuant to the Class Action Fairness Act

of 2005 (“CAFA”), 28 U.S.C. § 1332(d)(2), because this is a class action in which the matter in

controversy exceeds the sum of $5,000,000, the number of class members exceeds 100, and at

least one Class member is a citizen of a state different from Defendant. This Court also has

supplemental jurisdiction pursuant to 28 U.S.C. § 1367(a) because all claims alleged herein form

part of the same case or controversy.

          19.      This Court has personal jurisdiction over Defendant because Defendant is

headquartered in Massachusetts.

          20.      Venue is proper in this District under 28 U.S.C. § 1391(b)(2) because a substantial

part of the events or omissions giving rise to Plaintiff’s and Class members’ claims occurred in

this District.

                                 IV.     FACTUAL ALLEGATIONS

A.        Progress Software Corporation – Background

          21.      MOVEit was originally developed by Ipswitch, Inc. (“Ipswitch”).2 In 2019, PSC

wholly purchased and absorbed Ipswitch and its intellectual property, including the MOVEit

program, for $225 million. Thereafter, PSC took over the marketing, sale, and continued

development of the MOVEit cloud storage and “secure” file transfer program and its attendant

services.




2
    MOVEit, IPSWITCH, available at https://www.ipswitch.com/moveit (last accessed July 3, 2023).

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              Case
               CaseMDL
                    1:23-cv-11669
                       No. 3083 Document
                                  Document71-3
                                           1 Filed
                                               Filed07/25/23
                                                     07/26/23 Page
                                                               Page7 7ofof3436




        22.      PSC markets itself as “the experienced, trusted provider of products designed with

you, our customers, in mind” and proclaims that one of its values is to “uphold trust” of its clients

and consumers.

        23.      The MOVEit program was utilized by numerous government agencies and private,

corporate parties. And through the program, PSC acquired vast amounts of PII, PHI, and financial

account information from the Class Members. PSC was entrusted with keeping this Private

Information safe.

B.      The Data Breach

        24.      On May 31, 2023, PSC discovered “a vulnerability in MOVEit Transfer and

MOVEit Cloud (CVE-2023-34362) that could lead to escalated privileges and potential

unauthorized access to the environment.”.3

        25.      Cybercriminals took full advantage of the CVE-2023-34362 vulnerability to access

the MOVEit database, steal Private Information,4 and launch a massive spree of ransomware

attacks on MOVEit’s customers using the Clop ransomware program.5

        26.      CVE-2023-34362 presented an unacceptably simply and easy avenue of attack for

malicious actors: SQL injection.6 SQL injection occurs when a database requests an input from a

user, such as a username/userid. A malicious actor can use this to inject a SQL statement into the


3
  MOVEit Transfer and MOVEit Cloud Vulnerability, Progress Security Center, available at
https://www.progress.com/security/moveit-transfer-and-moveit-cloud-vulnerability (last accessed July 3,
2023).
4
  Khandelwal Swati, Another Critical Unauthenticated SQLi Flaw Discovered in MOVEit Transfer
Software, The Hacker News (July 7, 2023), available at https://thehackernews.com/2023/07/another-
critical-unauthenticated-sqli.html (last accessed July 7, 2023).
5
  Carly Page, Hackers launch another wave of mass-hacks targeting company file transfer tools,
TechCrunch (June 2, 2023), available at https://techcrunch.com/2023/06/02/hackers-launch-another-
wave-of-mass-hacks-targeting-company-file-transfer-tools/ (last accessed July 3, 2023).
6
  Khandelwal Swati, Another Critical Unauthenticated SQLi Flaw Discovered in MOVEit Transfer
Software, The Hacker News (July 7, 2023), available at https://thehackernews.com/2023/07/another-
critical-unauthenticated-sqli.html (last accessed July 7, 2023).

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                 CaseMDL
                      1:23-cv-11669
                         No. 3083 Document
                                    Document71-3
                                             1 Filed
                                                 Filed07/25/23
                                                       07/26/23 Page
                                                                 Page8 8ofof3436




input command which will unknowingly run on the database if the database is not properly

programed to reject such a command.

          27.      After further investigation, PSC discovered additional severe vulnerabilities, which

were labeled CVE-2023-36932, CVE-2023-36933, and CVE-2023-36934.7 CVE-2023-36932 and

CVE-2023-36934 were additional SQL injection vulnerabilities while CVE-2023-36933 would

have allowed malicious actors to completely shut down the MOVEit program.8

          28.      The CVE-2023-34362 vulnerability had existed for at least two years. The

corporate investigation and risk consulting firm Kroll discovered evidence that the cybercrime

gang had been experimenting with ways to exploit CVE-2023-34362 as far back as July 2021.9

          29.      Kroll also discovered that the notorious Cl0p ransomware gang had successfully

infiltrated MOVEit’s database using this method and began extracting data as early as April

2023.10

          30.      Despite being in possession of truly astonishing quantities of Private Information,

MOVEit’s database security was full of glaring vulnerabilities that went undiscovered and

unpatched for at least two years. And a simple SQL injection allowed a notorious gang of cyber

criminals unfettered access to plunder MOVEit’s data vaults for at least two months before PSC

discovered what had been done.

C.        PSC’s Many Failures Both Prior to and Following the Breach




7
  Id.
8
  Id.
9
  Ravie Lakshmanan, New Critical MOVEit Transfer SQL Injection Vulnerabilities Discovered - Patch
Now! The Hacker News (June 10, 2023), available at https://thehackernews.com/2023/06/new-critical-
moveit-transfer-sql.html#:~:text=%22An%20attacker%20could%20submit%20a,7)%2C%202021.1 (last
accessed July 4, 2023).
10
   Id.

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                Case
                 CaseMDL
                      1:23-cv-11669
                         No. 3083 Document
                                    Document71-3
                                             1 Filed
                                                 Filed07/25/23
                                                       07/26/23 Page
                                                                 Page9 9ofof3436




          31.      First, PSC could have prevented this Data Breach by properly hardening the

MOVEit databases against SQL injection attacks or by timely discovering such vulnerabilities and

quickly patching them before they were exploited. Indeed, PSC had two years to discover not only

the vulnerability but also the fact that cybercriminals had attempted to exploit the same breach

before.

          32.      Second, after the vulnerability was finally successfully exploited, PSC did not

discover that the MOVEit databases had been compromised until almost two months had passed.

Two months that allowed an infamous cyber gang to access and empty the proverbial vault.

          33.      Third, when PSC finally acknowledged that it had experienced a breach, it failed to

inform Plaintiff’s and Class Members that their information had been compromised. It simply

released a notice on its website and pushed an update to its programs.

          34.      Fourth, PSC has, to this day, made no effort to protect Plaintiffs and the Class

Members from the long-term consequences of PSC’s previously mentioned failures. It has not

even offered any kind of complimentary credit monitoring services to Plaintiffs or other Class

Members, which would still be insufficient to mitigate the heightened risk of identity theft that

Plaintiffs and the Class Members would suffer for the remainder of their lives.

          35.      In short, PSC’s myriad failures, including the failure to timely detect the Data

Breach and total failure to properly notify Plaintiffs and Class Members that their personal and

medical information had been exfiltrated, allowed cyber criminals to access, misappropriate and

misuse Plaintiffs’ and Class members’ Private Information for months before PSC finally afforded

victims the opportunity to take proactive steps to defend themselves and mitigate the near- and

long-term consequences of the Data Breach.




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             Case
              CaseMDL
                   1:23-cv-11669
                      No. 3083 Document
                                 Document71-3
                                          1 Filed
                                              Filed07/25/23
                                                    07/26/23 Page
                                                              Page1010ofof3436




D.         Data Breaches Pose Significant Threats

           36.    Data breaches have become a constant threat that, and PII, including Social Security

numbers and driver’s license numbers, are a particularly valuable commodity and a frequent target

of hackers.

           37.    In 2022, the Identity Theft Resource Center’s Annual End-of-Year Data Breach

Report listed 1,802 total compromises involving 422,143,312 victims for 2022, which was just 50

compromises short of the current record set in 2021.11 The HIPAA Journal’s 2022 Healthcare Data

Breach Report reported 707 compromises involving healthcare data, which is just 8 shy of the

record of 715 set in 2021 and still double that of the number of similar such compromises in 2017

and triple the number of compromises in 2012.12

           38.    Statista, a German entity that collects and markets data relating to, among other

things, data breach incidents and the consequences thereof, confirms that the number of data

breaches has been steadily increasing since it began a survey of data compromises in 2005 with

157 compromises reported that year, to a peak of 1,862 in 2021, to 2022’s total of 1,802.13 The

number of impacted individuals has also risen precipitously from approximately 318 million in

2015 to 422 million in 2022, which is an increase of nearly 50%. 14




11
     2022 End of Year Data Breach Report, Identity Theft Resource Center (January 25, 2023), available at:
https://www.idtheftcenter.org/publication/2022-data-breach-
report/?utm_source=press+release&utm_medium=web&utm_campaign=2022+Data+Breach+Report+
(last accessed March 23, 2023).
12
  2022 Healthcare Data Breach Report, The HIPAA Journal (January 24, 2023), available at:
https://www.hipaajournal.com/2022-healthcare-data-breach-report/ (last accessed March 23, 2023).
13
     Annual Number of Data Breaches and Exposed Records in the United States from 2005
to 2022, Statista, available at: https://www.statista.com/statistics/273550/data-breaches-recorded-in-the-
united-states-by-number-of-breaches-and-records-exposed/ (last accessed last accessed March 23, 2023).
14
     Id.

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             Case
              CaseMDL
                   1:23-cv-11669
                      No. 3083 Document
                                 Document71-3
                                          1 Filed
                                              Filed07/25/23
                                                    07/26/23 Page
                                                              Page1111ofof3436




           39.    Data breaches are a constant threat because PII is routinely traded on the dark web

as s simple commodity, with social security numbers being so ubiquitous to be sold at as little as

$2.99 apiece and passports retailing for as little as $15 apiece.15

           40.    In addition, the severity of the consequences of a compromised social security

number belies the ubiquity of stolen numbers on the dark web. Criminals and other unsavory

elements can fraudulently take out loans under the victims’ name, open new lines of credit, and

cause other serious financial difficulties for victims:

           [a] dishonest person who has your Social Security number can use it to get other
           personal information about you. Identity thieves can use your number and your
           good credit to apply for more credit in your name. Then, they use the credit cards
           and don’t pay the bills, it damages your credit. You may not find out that someone
           is using your number until you’re turned down for credit, or you begin to get calls
           from unknown creditors demanding payment for items you never bought. Someone
           illegally using your Social Security number and assuming your identity can cause
           a lot of problems.16

This is exacerbated by the fact that the problems arising from a compromised social security

number are exceedingly difficult to resolve. A victim is forbidden from proactively changing his

or her number unless and until it is actually misused, and harm has already occurred. And even

this delayed remedial action is unlikely to undo the damage already done to the victims:

           Keep in mind that a new number probably won’t solve all your problems. This is
           because other governmental agencies (such as the IRS and state motor vehicle
           agencies) and private businesses (such as banks and credit reporting companies)
           will have records under your old number. Along with other personal information,
           credit reporting companies use the number to identify your credit record. So using
           a new number won’t guarantee you a fresh start. This is especially true if your other
           personal information, such as your name and address, remains the same.17


15
  What is your identity worth on the dark web? Cybernews (September 28, 2021), available at:
https://cybernews.com/security/whats-your-identity-worth-on-dark-web/ (last accessed March 23, 2023).
16
  United States Social Security Administration, Identity Theft and Your Social Security Number, United
States Social Security Administration (July 2021), available at: https://www.ssa.gov/pubs/EN-05-
10064.pdf (last accessed March 23, 2023).
17
     Id.

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           CaseMDL
                1:23-cv-11669
                   No. 3083 Document
                              Document71-3
                                       1 Filed
                                           Filed07/25/23
                                                 07/26/23 Page
                                                           Page1212ofof3436




       41.     The Federal Trade Commission (“FTC”) has brought dozens of cases against

companies that have engaged in unfair or deceptive practices involving inadequate protection of

consumers’ personal data. The FTC has publicized enforcement actions to place companies like

Defendant on notice of their obligation to safeguard customer information.

       42.     Indeed, cyberattacks have become so notorious that the FBI and U.S. Secret Service

have issued a warning to potential targets, so they are aware of and take appropriate measures to

prepare for and are able to thwart such an attack.

       43.     Given the nature of PSC’s Data Breach, as well as the length of the time PSC’s

networks were breached and the long delay in notification to the Class, it is foreseeable that the

compromised Private Information has been or will be used by hackers and cybercriminals in a

variety of devastating ways. Indeed, the cybercriminals who possess Plaintiff’s and Class

members’ Private Information can easily obtain Plaintiffs’ and Class members’ tax returns or open

fraudulent credit card accounts in Class members’ names.

       44.     Based on the foregoing, the information compromised in the Data Breach is

significantly more valuable than the loss of, for example, credit card information in a retailer data

breach, because credit card victims can cancel or close credit and debit card accounts.18 The

information compromised in this Data Breach is impossible to “close” and difficult, if not

impossible, to change.

       45.     Despite the prevalence of public announcements of data breach and data security

compromises, its own acknowledgment of the risks posed by data breaches, and its own




18
  See Jesse Damiani, Your Social Security Number Costs $4 On The Dark Web, New Report Finds,
Forbes, Mar 25, 2020, available at https://www.forbes.com/sites/jessedamiani/2020/03/25/your-social-
security-number-costs-4-on-the-dark-web-new-report-finds/?sh=6a44b6d513f1 (last accessed March 11,
2023).

                                                 12
             Case
              CaseMDL
                   1:23-cv-11669
                      No. 3083 Document
                                 Document71-3
                                          1 Filed
                                              Filed07/25/23
                                                    07/26/23 Page
                                                              Page1313ofof3436




acknowledgment of its duties to keep Private Information private and secure, PSC failed to take

appropriate steps to protect the Private Information of Plaintiffs and the Class from

misappropriation. As a result, the injuries to the Plaintiffs and the Class were directly and

proximately caused by PSC’s failure to implement or maintain adequate data security measures

for customers’ customers.

E.         PSC Had a Duty and Obligation to Protect Private Information

           46.    PSC has an obligation, both statutory and self-imposed, to keep confidential and

protect from unauthorized access and/or disclosure Plaintiffs’ and Class members’ Private

Information. PSC’s obligations are derived from: 1) government regulations and state laws,

including HIPAA and FTC rules and regulations; 2) industry standards; and 3) promises and

representations regarding the handling of sensitive PII and medical records. Plaintiffs and Class

members provided, and PSC obtained, their information on the understanding that it would be

protected and safeguarded from unauthorized access or disclosure.

           47.    The FTC defines identity theft as “a fraud committed or attempted using the

identifying information of another person without authority.”19 The FTC describes “identifying

information” as “any name or number that may be used, alone or in conjunction with any other

information, to identify a specific person,” including, among other things, “[n]ame, Social Security

number, date of birth, official State or government issued driver’s license or identification number,

alien registration number, government passport number, employer or taxpayer identification

number.”20




19
     17 C.F.R. § 248.201 (2013).
20
     Id.

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             Case
              CaseMDL
                   1:23-cv-11669
                      No. 3083 Document
                                 Document71-3
                                          1 Filed
                                              Filed07/25/23
                                                    07/26/23 Page
                                                              Page1414ofof3436




           48.    The FTC has issued numerous guides for businesses highlighting the importance of

reasonable data security practices. According to the FTC, the need for data security should be

factored into all business decision-marking.21

           49.    In 2016, the FTC updated its publication, Protecting Personal Information: A

Guide for Business, which established guidelines for fundamental data security principles and

practices for business.22 The guidelines note businesses should protect the personal information

that they keep; properly dispose of personal information that is no longer needed; encrypt

information stored on computer networks; understand their network’s vulnerabilities; and

implement policies to correct security problems.23 The guidelines also recommend that businesses

use an intrusion detection system to expose a breach as soon as it occurs; monitor all incoming

traffic for activity indicating someone is attempting to hack the system; watch for large amounts

of data being transmitted from the system; and have a response plan ready in the event of a

breach.24 PSC clearly failed to do any of the foregoing, as evidenced by the length of the Data

Breach, the fact that the Breach went undetected, and the amount of data exfiltrated.

           50.    Here, at all relevant times, PSC was fully aware of its obligation to protect the PII

Private Information of its customers’ customers, including Plaintiffs and the Class, and on

information and belief, PSC is a sophisticated and technologically savvy company that relies




21
  Start With Security, Federal Trade Commission (June 2015), available at
https://www.ftc.gov/system/files/documents/plain-language/pdf0205-startwithsecurity.pdf.
22
     Protecting Personal Information: A Guide for Business, Federal Trade Comm’n
(October 2016), available at https://www.ftc.gov/tips-advice/business-center/guidance/protecting-
personal-information-guide-business.
23
     Id.
24
     Id.

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          Case
           CaseMDL
                1:23-cv-11669
                   No. 3083 Document
                              Document71-3
                                       1 Filed
                                           Filed07/25/23
                                                 07/26/23 Page
                                                           Page1515ofof3436




extensively on technology systems and networks to maintain its practice, including storing its

customers’ customers PII to operate its business.

       51.     PSC had and continues to have a duty to exercise reasonable care in collecting,

storing, and protecting Private Information from the foreseeable risk of a data breach. The duty

arises out of the special relationship that exists between PSC and Plaintiffs and Class members.

PSC alone had the exclusive ability to implement adequate security measures to its cyber security

network to secure and protect Plaintiffs’ and Class members’ Private Information.

       52.     PSC’s failure to follow the FTC guidelines and its subsequent failure to employ

reasonable and appropriate measures to protect against unauthorized access to confidential data

constitutes unfair acts or practices prohibited by Section 5 of the Federal Trade Commission Act,

14 U.S.C. § 45.

       53.     Further, PSC had a duty to promptly notify Plaintiffs and the Class that their Private

Information was accessed by unauthorized persons.

F.     PSC Violated HIPAA, FTC and Industry Standard Data Protection Protocols

       54.     The FTC rules, regulations, and guidelines obligate businesses to protect PII and

PHI, from unauthorized access or disclosure by unauthorized persons.

       55.     At all relevant times, PSC was fully aware of its obligation to protect the PII

entrusted to it by Class members, because it is a sophisticated business entity that is in the business

of maintaining and transmitting PII..

       56.     PSC was also aware of the significant consequences of its failure to protect Private

Information for the thousands of individuals who provided their PII and knew that this data, if

hacked, would gravely injure consumers, including Plaintiffs and Class members.




                                                  15
          Case
           CaseMDL
                1:23-cv-11669
                   No. 3083 Document
                              Document71-3
                                       1 Filed
                                           Filed07/25/23
                                                 07/26/23 Page
                                                           Page1616ofof3436




        57.     Unfortunately, PSC failed to comply with FTC rules, regulations and guidelines,

and industry standards concerning the protection and security of Private Information. As evidenced

by the duration, scope, and nature of the Data Breach, among its many deficient practices, PSC

failed in, inter alia, the following respects:

                a.      Developing and employing adequate intrusion detection systems;

                b.      Engaging in regular reviews of audit logs and authentication records;

                c.      Developing and maintaining adequate data security systems to reduce the
                        risk of data breaches and cyberattacks;

                d.      Ensuring the confidentiality and integrity of its customers’ customers’ PII
                        and records that Defendant receives and maintains;

                e.      Protecting against any reasonably anticipated threats or hazards to the
                        security or integrity of its customers’ customers’ Private Information;

                f.      Implementing policies and procedures to prevent, detect, contain, and
                        correct security violations;

                g.      Developing adequate policies and procedures to regularly review records of
                        system activity, such as audit logs, access reports, and security incident
                        tracking reports;

                h.      Implementing technical policies, procedures and safeguards for
                        electronically stored information concerning Private Information that
                        permit access for only those persons or programs that have specifically been
                        granted access; and

                i.      Other similar measures to protect the security and confidentiality of its
                        customers’ Private Information.

        58.     Had PSC implemented the above-described data security protocols, policies, and/or

procedures, the consequences of the Data Breach could have been avoided or greatly reduced. PSC

could have prevented or detected the Data Breach prior to the hackers accessing PSC’s systems

and extracting sensitive and personal information; the amount and/or types of Private Information

accessed by the hackers could have been avoided or greatly reduced; and current and Class




                                                 16
          Case
           CaseMDL
                1:23-cv-11669
                   No. 3083 Document
                              Document71-3
                                       1 Filed
                                           Filed07/25/23
                                                 07/26/23 Page
                                                           Page1717ofof3436




Members would have been notified sooner, allowing them to promptly take protective and

mitigating actions.

G.    PSC’s Data Security Practices are Inadequate and Inconsistent with its Self-Imposed
Data Security Obligations

        59.     PSC represented that it “guarantees the security of sensitive files,” and promises,

among other things: to keep customers’ files private; comply with industry standards related to

data security and maintenance of its customers’ files and the Private Information contained therein;

only disclose the sensitive information for business purposes and reasons related to the services it

provides; and provide adequate notice to individuals if their Private Information is disclosed

without authorization.25

        60.     Plaintiffs and Class members provided their Private Information to PSC in reliance

on its promises and self-imposed obligations to keep PII confidential, and to secure the Private

Information from unauthorized access by malevolent actors. It failed to do so.

        61.     Had PSC undertaken the actions that federal and state law require, the Data Breach

could have been prevented or the consequences of the Data Breach significantly reduced, as PSC

would have detected the Data Breach prior to the hackers extracting data from PSC’s networks,

and PSC’s customers’ customers would have been notified of the Data Breach sooner, allowing

them to take necessary protective or mitigating measures much earlier.

H.      Plaintiffs and the Class Suffered Harm Resulting from the Data Breach

        62.     Like any data hack, the Data Breach presents major problems for all affected.26


25
  Progress Brochure, available at https://d117h1jjiq768j.cloudfront.net/docs/default-source/default-
document-
library/progress-corporate-brochure-2023-rgb.pdf?sfvrsn=a0b1f671_3 (last accessed July 4, 2023).
26
  Paige Schaffer, Data Breaches' Impact on Consumers, Insurance Thought Leadership (July 29, 2021),
available at https://www.insurancethoughtleadership.com/cyber/data-breaches-impact-consumers (last
accessed March 23, 2023).

                                                   17
          Case
           CaseMDL
                1:23-cv-11669
                   No. 3083 Document
                              Document71-3
                                       1 Filed
                                           Filed07/25/23
                                                 07/26/23 Page
                                                           Page1818ofof3436




       63.      The FTC warns the public to pay particular attention to how they keep personally

identifying information including Social Security numbers and other sensitive data. As the FTC

notes, “once identity thieves have your personal information, they can drain your bank account,

run up charges on your credit cards, open new utility accounts, or get medical treatment on your

health insurance.”27

       64.      The ramifications of PSC’s failure to properly secure Plaintiff’s and Class

members’ Private Information are severe. Identity theft occurs when someone uses another

person’s financial, and personal information, such as that person’s name, address, Social Security

number, driver’s license number, and other information, without permission to commit fraud or

other crimes.

       65.      According to data security experts, one out of every four data breach notification

recipients become a victim of identity fraud.

       66.      Furthermore, PII has a long shelf-life because it contains different forms of personal

information, it can be used in more ways than one, and it typically takes time for an information

breach to be detected.

       67.      Accordingly, PSC’s wrongful actions and/or inaction and the resulting Data Breach

have also placed Plaintiff and the Class at an imminent, immediate, and continuing increased risk

of identity theft and identity fraud.28 Indeed, “[t]he level of risk is growing for anyone whose




27
  Warning Signs of Identity Theft, Federal Trade Comm’n, available at
https://www.identitytheft.gov/#/Warning-Signs-of-Identity-Theft (last accessed March 11, 2023).
28
 Data Breach Victims More Likely To Suffer Identity Fraud, INSURANCE INFORMATION INSTITUTE
BLOG (February 23, 2012), available at http://www.iii.org/insuranceindustryblog/?p=267 (last accessed
March 11, 2023).

                                                  18
          Case
           CaseMDL
                1:23-cv-11669
                   No. 3083 Document
                              Document71-3
                                       1 Filed
                                           Filed07/25/23
                                                 07/26/23 Page
                                                           Page1919ofof3436




information is stolen in a data breach.”29 Javelin Strategy & Research, a leading provider of

quantitative and qualitative research, notes that “[t]he theft of SSNs places consumers at a

substantial risk of fraud.”30 Moreover, there is a high likelihood that significant identity fraud

and/or identity theft has not yet been discovered or reported. Even data that has not yet been

exploited by cybercriminals presents a concrete risk that the cybercriminals who now possess Class

members’ Private Information will do so later or re-sell it.

        68.     Here, due to the Breach, Plaintiffs and Class members have been exposed to injuries

that include, but are not limited to:

                a.      Theft of Private Information;

                b.      Costs associated with the detection and prevention of identity theft and
                        unauthorized use of financial accounts as a direct and proximate result of
                        the Private Information stolen during the Data Breach;

                c.      Damages arising from the inability to use accounts that may have been
                        compromised during the Data Breach;

                d.      Costs associated with spending time to address and mitigate the actual and
                        future consequences of the Data Breach, such as finding fraudulent charges,
                        cancelling and reissuing payment cards, purchasing credit monitoring and
                        identity theft protection services, placing freezes and alerts on their credit
                        reports, contacting their financial institutions to notify them that their
                        personal information was exposed and to dispute fraudulent charges,
                        imposition of withdrawal and purchase limits on compromised accounts,
                        including but not limited to lost productivity and opportunities, time taken
                        from the enjoyment of one’s life, and the inconvenience, nuisance, and
                        annoyance of dealing with all issues resulting from the Data Breach, if they
                        were fortunate enough to learn of the Data Breach despite PSC’s total
                        failure in disseminating notice in accordance with state law;



29
  Susan Ladika, Study: Data Breaches Pose A Greater Risk, CREDITCARDS.COM (July 23, 2014),
available at http://www.creditcards.com/credit-card-news/data-breach-id-theft-risk-increase-study-
1282.php (last accessed March 11, 2023).
30
  THE CONSUMER DATA INSECURITY REPORT: EXAMINING THE DATA BREACH- IDENTITY FRAUD
PARADIGM IN FOUR MAJOR METROPOLITAN AREAS, available at
https://www.it.northwestern.edu/bin/docs/TheConsumerDataInsecurityReport_byNCL.pdf) (last accessed
March 11, 2023).

                                                   19
          Case
           CaseMDL
                1:23-cv-11669
                   No. 3083 Document
                              Document71-3
                                       1 Filed
                                           Filed07/25/23
                                                 07/26/23 Page
                                                           Page2020ofof3436




               e.      The imminent and impending injury resulting from potential fraud and
                       identity theft posed because their Private Information is exposed for theft
                       and sale on the dark web; and

               f.      The loss of Plaintiffs’ and Class members’ privacy.

       69.     Plaintiffs and Class members have suffered imminent and impending injury arising

from the substantially increased risk of fraud, identity theft, and misuse resulting from their Private

Information being accessed by cybercriminals, risks that will not abate within a mere one to two

years: the unauthorized access of Plaintiffs’ and Class members’ Private Information, especially

their Social Security numbers, puts Plaintiffs and the Class at risk of identity theft indefinitely.

       70.     As a direct and proximate result of PSC’s acts and omissions in failing to protect

and secure Private Information, Plaintiffs and Class members have been placed at a substantial

risk of harm in the form of identity theft and have incurred and will incur actual damages in an

attempt to prevent identity theft.

       71.     Plaintiffs retain an interest in ensuring there are no future breaches, in addition to

seeking a remedy for the harms suffered because of the Data Breach on behalf of both themselves

and similarly situated individuals whose Private Information was accessed in the Data Breach.

I.     Plaintiff Anna Moore’s and Ashley Gwen Lacombe’s Experience

       72.     Plaintiffs Anna Moore and Ashley Gwen Lacombe were and are holders of a valid

Louisiana driver’s licenses. As part of being a licensed driver in the state of Louisiana, Plaintiffs

Moore and Lacombe shared highly sensitive PII and financial account information with the OMV.

       73.     The Louisiana OMV was a customer of PSC and utilized the MOVEit program to

“securely” transfer and store the sensitive Private Information of its customers.

       74.     Upon information and belief, Plaintiffs Moore and Lacombe’s Private Information

was transmitted to PSC and stored on its databases via the MOVEit program. Thereafter,



                                                  20
          Case
           CaseMDL
                1:23-cv-11669
                   No. 3083 Document
                              Document71-3
                                       1 Filed
                                           Filed07/25/23
                                                 07/26/23 Page
                                                           Page2121ofof3436




cybercriminals including the Cl0p ransomware gang, accessed and exfiltrated Plaintiffs’ Private

Information.

       75.     As a result of the Data Breach, Plaintiffs Moore and Lacombe have made

reasonable efforts to mitigate the impact of the Data Breach, including, but not limited to,

researching the Data Breach and reviewing credit reports and financial account statements for any

indications of actual or attempted identity theft or fraud. Plaintiffs Moore and Lacombe have spent

several hours dealing with the Data Breach, valuable time Plaintiffs otherwise would have spent

on other activities, including, but not limited to, work and recreation.

       76.     As a result of the Data Breach, both Plaintiff Moore and Plaintiff Lacombe have

suffered anxiety due to the public dissemination of their PII, which they believed would be

protected from unauthorized access and disclosure, including anxiety about unauthorized parties

viewing, selling, and using her Private Information for purposes of identity theft and

fraud. Plaintiffs Moore and Lacombe are concerned about identity theft and fraud, as well as the

consequences of such identity theft and fraud resulting from the Data Breach.

       77.     Plaintiff Moore and Plaintiff Lacombe suffered actual injury from having their

Private Information compromised because of the Data Breach including, but not limited to (a)

damage to and diminution in the value of his Private Information, a form of property that

Defendant obtained from Plaintiffs; (b) violation of their privacy rights; and (c) present, imminent

and impending injury arising from the increased risk of identity theft and fraud.

       78.     As a result of the Data Breach, Plaintiff Moore and Plaintiff Lacombe anticipate

spending considerable time and money on an ongoing basis to try to mitigate and address harm

caused by the Data Breach. As a result of the Data Breach, Plaintiff Moore and Plaintiff Lacombe




                                                 21
             Case
              CaseMDL
                   1:23-cv-11669
                      No. 3083 Document
                                 Document71-3
                                          1 Filed
                                              Filed07/25/23
                                                    07/26/23 Page
                                                              Page2222ofof3436




are at a present risk and will continue to be at increased risk of identity theft and fraud for years to

come.

                                     V.      CLASS ALLEGATIONS

           79.     Plaintiffs bring this action on behalf of himself and, pursuant to Fed. R. Civ. P.

23(a), 23(b)(2), and 23(b)(3), a Class of:

                   All persons in the United States whose Private Information was accessed
                   in the Data Breach.

Excluded from the Class are Defendant, its executives and officers, and the Judge(s) assigned to

this case. Plaintiffs reserve the right to modify, change or expand the Class definition after

conducting discovery.

           80.     Numerosity: Upon information and belief, the Class is so numerous that joinder of

all members is impracticable with the number of affected individuals estimated to be in the

millions.31 The exact number and identities of individual members of the Class are unknown at

this time, such information being in the sole possession of PSC and obtainable by Plaintiffs only

through the discovery process. The members of the Class will be identifiable through information

and records in PSC’s possession, custody, and control.

           81.     Existence and Predominance of Common Questions of Fact and Law: Common

questions of law and fact exist as to all members of the Class. These questions predominate over

the questions affecting individual Class members. These common legal and factual questions

include, but are not limited to:

                   a.      Whether PSC’s data security and retention policies were unreasonable;

                   b.      Whether PSC failed to protect the confidential and highly sensitive
                           information with which it was entrusted;



31
     Vitality, just one of PSC’s customers, had over 30 million users.

                                                       22
          Case
           CaseMDL
                1:23-cv-11669
                   No. 3083 Document
                              Document71-3
                                       1 Filed
                                           Filed07/25/23
                                                 07/26/23 Page
                                                           Page2323ofof3436




                c.      Whether PSC owed a duty to Plaintiffs and Class members to safeguard
                        their Private Information;

                d.      Whether PSC breached any legal duties in connection with the Data Breach;

                e.      Whether PSC’s conduct was intentional, reckless, willful or negligent;

                f.      Whether an implied contract was created concerning the security of
                        Plaintiffs’ and Class members’ Private Information;

                g.      Whether PSC breached that implied contract by failing to protect and keep
                        secure Plaintiffs’ and Class members’ Private Information and/or failing to
                        timely and adequately notify Plaintiffs and Class members of the Data
                        Breach;

                h.      Whether Plaintiffs and Class members suffered damages as a result of
                        PSC’s conduct; and

                i.      Whether Plaintiffs and the Class are entitled to monetary damages,
                        injunctive relief and/or other remedies and, if so, the nature of any such
                        relief.

        82.     Typicality: All of Plaintiffs’ claims are typical of the claims of the Class since

Plaintiffs and all members of the Class had their Private Information compromised in the Data

Breach. Plaintiffs and the members of the Class sustained damages because of PSC’s uniform

wrongful conduct.

        83.     Adequacy: Plaintiffs are adequate representatives because their interests do not

materially or irreconcilably conflict with the interests of the Class they seek to represent, they have

retained counsel competent and highly experienced in complex class action litigation and intend

to prosecute this action vigorously. Plaintiffs and their counsel will fairly and adequately protect

the interests of the Class. Neither Plaintiffs nor their counsel have any interests that are antagonistic

to the interests of other members of the Class.

        84.     Superiority: A class action is superior to all other available means of fair and

efficient adjudication of the claims of Plaintiffs and the Class. The injury suffered by each

individual Class member is relatively small in comparison to the burden and expense of individual

                                                   23
          Case
           CaseMDL
                1:23-cv-11669
                   No. 3083 Document
                              Document71-3
                                       1 Filed
                                           Filed07/25/23
                                                 07/26/23 Page
                                                           Page2424ofof3436




prosecution of the complex and extensive litigation necessitated by PSC’s conduct. It would be

virtually impossible for members of the Class individually to effectively redress the wrongs done

to them. Even if the members of the Class could afford such individual litigation, the court system

could not. Individualized litigation presents a potential for inconsistent or contradictory judgments.

Individualized litigation increases the delay and expense to all parties and to the court system

presented by the complex legal and factual issues of the case. By contrast, the class action device

presents far fewer management difficulties, and provides the benefits of single adjudication,

economy of scale, and comprehensive supervision by a single court. Members of the Class can be

readily identified and notified based on, inter alia, PSC’s records and databases.

       85.     PSC has acted, and refused to act, on grounds generally applicable to the Class,

thereby making appropriate final relief with respect to the Class as a whole.

                                  VI.      CAUSES OF ACTION

                                        COUNT I – Negligence

       86.     Plaintiffs incorporate and reallege all allegations above as if fully set forth herein.

       87.     This count is brought on behalf of all Class members.

       88.     PSC owed a duty to Plaintiffs and the Class to use and exercise reasonable and due

care in obtaining, retaining, and securing the Private Information that PSC collected.

       89.     PSC owed a duty to Plaintiffs and the Class to provide security, consistent with

industry standards and requirements, and to ensure that its cyber networks and systems, and the

personnel responsible for them, adequately protected the Private Information that PSC collected.

       90.     PSC owed a duty to Plaintiffs and the Class to implement processes to quickly

detect a data breach, to timely act on warnings about data breaches, and to inform the victims of a

data breach as soon as possible after it is discovered.



                                                 24
           Case
            CaseMDL
                 1:23-cv-11669
                    No. 3083 Document
                               Document71-3
                                        1 Filed
                                            Filed07/25/23
                                                  07/26/23 Page
                                                            Page2525ofof3436




         91.   PSC owed a duty of care to Plaintiffs and the Class because they were a foreseeable

and probable victim of any inadequate data security practices.

         92.   PSC gathered and stored the Private Information belonging to Plaintiffs and the

Class.

         93.   PSC knew or should have known it inadequately safeguarded this information.

         94.   PSC knew that a breach of its systems would inflict millions of dollars of damages

upon Plaintiffs and Class members, and PSC was therefore charged with a duty to adequately

protect this critically sensitive information.

         95.   PSC had a special relationship with Plaintiffs and Class members. Plaintiffs’ and

Class members’ highly sensitive Private Information was entrusted to PSC on the understanding

that adequate security precautions would be taken to protect the PII and medical information.

Moreover, only PSC had the ability to protect its systems and the Private Information stored on

them from attack.

         96.   PSC’s own conduct also created a foreseeable risk of harm to Plaintiffs, Class

members, and their PII. PSC’s misconduct included failing to: (1) secure its systems, servers, and

networks, despite knowing their vulnerabilities, (2) comply with industry standard security

practices, (3) implement adequate system and event monitoring, and (4) implement the safeguards,

policies, and procedures necessary to prevent this type of data breach.

         97.   PSC breached its duties to Plaintiffs and Class members by failing to provide fair,

reasonable, or adequate cyber networks and data security practices to safeguard the Private

Information belonging to Plaintiffs and the Class.

         98.   PSC breached its duties to Plaintiffs and the Class by creating a foreseeable risk of

harm through the misconduct previously described.



                                                 25
          Case
           CaseMDL
                1:23-cv-11669
                   No. 3083 Document
                              Document71-3
                                       1 Filed
                                           Filed07/25/23
                                                 07/26/23 Page
                                                           Page2626ofof3436




       99.     PSC breached the duties it owed to Plaintiffs and Class members by failing to

implement proper technical systems or security practices that could have prevented the

unauthorized access of Private Information.

       100.    The law further imposes an affirmative duty on PSC to timely disclose the

unauthorized access and theft of the Private Information belonging to Plaintiffs and the Class so

that Plaintiffs and the Class can take appropriate measures to mitigate damages, protect against

adverse consequences, and thwart future misuse of their Private Information.

       101.    PSC breached the duties it owed to Plaintiffs and the Class by failing to timely and

accurately disclose to Plaintiffs and Class members that their Private Information had been

improperly acquired or accessed.

       102.    PSC breached its duty to timely notify Plaintiffs and Class members of the Data

Breach by failing to provide direct notice to Plaintiff and the Class concerning the Data Breach.

       103.    As a direct and proximate result of PSC’s conduct, Plaintiffs and the Class have

suffered a drastically increased risk of identity theft, relative to both the time period before the

breach, as well as to the risk born by the general public, as well as other damages, including but

not limited to time and expenses incurred in mitigating the effects of the Data Breach.

       104.    As a direct and proximate result of PSC’s negligent conduct, Plaintiffs and the Class

have suffered injury and are entitled to damages in an amount to be proven at trial.

                                 COUNT II – Negligence Per Se

       105.    Plaintiffs incorporate and reallege all allegations above as if fully set forth herein.

       106.    This count is brought on behalf of all Class members.

       107.    Section 5 of the Federal Trade Commission Act, 15 U.S.C. § 45, prohibits

“unfair . . . practices in or affecting commerce” including, as interpreted and enforced by the FTC,



                                                 26
          Case
           CaseMDL
                1:23-cv-11669
                   No. 3083 Document
                              Document71-3
                                       1 Filed
                                           Filed07/25/23
                                                 07/26/23 Page
                                                           Page2727ofof3436




the unfair act or practice by companies, such as PSC, of failing to use reasonable measures to

protect PII. Various FTC publications and orders also form the basis of PSC’s duty.

        108.   PSC violated FTC rules and regulations obligating companies to use reasonable

measures to protect Private Information by failing to comply with applicable industry standards;

and by failing to provide reasonable notice of the actual breach. PSC’s conduct was particularly

unreasonable given the nature and amount of Private Information it obtained and stored, the

foreseeable consequences of a Data Breach and the exposure of Plaintiff’s and Class members’

sensitive Private Information.

        109.   PSC’s violations of Section 5 of the FTC Act and other applicable statutes, rules,

and regulations constitute negligence per se.

        110.   Plaintiffs and the Class are within the category of persons the FTC Act was intended

to protect.

        111.   The harm that occurred because of the Data Breach described herein is the type of

harm the FTC Act was intended to guard against.

        112.   As a direct and proximate result of PSC’s negligence per se, Plaintiffs and the Class

have been damaged as described herein, continue to suffer injuries as detailed above, are subject

to the continued risk of exposure of their Private Information in PSC’s possession, and are entitled

to damages in an amount to be proven at trial.

                  COUNT III – Breach of Third-Party Beneficiary Contract

        113.   Plaintiffs incorporate and realleges all allegations above as if fully set forth herein.

        114.   This count is brought on behalf of all Class Members.

        115.   Upon information and belief, Defendant entered into virtually identical contracts

with its customers to provide secure file transfer services to them. The terms of these contracts



                                                 27
          Case
           CaseMDL
                1:23-cv-11669
                   No. 3083 Document
                              Document71-3
                                       1 Filed
                                           Filed07/25/23
                                                 07/26/23 Page
                                                           Page2828ofof3436




included material descriptions of PSC’s data security practices, procedures, and protocols

sufficient to safeguard Private Information that its customers would entrust to PSC.

       116.    Such contracts were made expressly for the benefit of Plaintiffs and the Class

Members, as it was their Private Information that PSC agreed to receive and protect through its

services. Thus, the benefit of collection and protection of the Private Information belonging to

Plaintiffs and the Class Members was the direct and primary objective of the contracting parties

and Plaintiffs and Class Members were direct and express beneficiaries of such contracts.

       117.    PSC knew that Plaintiffs and the Class Members would suffer substantial harm in

the event it breached these contracts with its customers.

       118.    Through various actions and inactions including its failure to secure its MOVEit

program and databases, failure to timely detect and patch security vulnerabilities, and failure to

timely detect a security breach, PSC breached its contracts with its customers.

       119.    As foreseen at the formation of these contracts, PSC’s breach caused Plaintiffs and

the Class Members to be harmed through, inter alia, the continuous and substantially increased

risk of identity theft, the loss in value of their Private Information, and lost time in attempting to

mitigate the consequences of the breach.

       120.    Accordingly, Plaintiffs and the Class are entitled to damages in an amount to be

determined at trial, along with costs and attorneys’ fees incurred in this action.

                                COUNT IV – Unjust Enrichment

       121.    Plaintiffs incorporate and reallege all allegations above as if fully set forth herein.

       122.    This count is brought on behalf of all Class Members.

       123.    Plaintiffs and the Class have an interest, both equitable and legal, in their Private

Information that was collected and maintained by PSC.



                                                 28
          Case
           CaseMDL
                1:23-cv-11669
                   No. 3083 Document
                              Document71-3
                                       1 Filed
                                           Filed07/25/23
                                                 07/26/23 Page
                                                           Page2929ofof3436




       124.      PSC benefited by the conferral upon it of Plaintiffs’ and Class members’ Private

Information and by its ability to retain and use that information. PSC understood that it was in fact

so benefitted.

       125.      PSC also understood and appreciated that Plaintiffs’ and Class members’ Private

Information was private and confidential, and its value depended upon PSC maintaining the

privacy and confidentiality of that information.

       126.      But for PSC’s willingness and commitment to maintain its privacy and

confidentiality, Plaintiffs and Class members would not have provided or authorized their Private

Information to be provided to PSC.

       127.      As a result of PSC’s wrongful conduct as alleged herein (including, among other

things, its deception of Plaintiffs, the Class, and the public relating to the nature and scope of the

data breach; its failure to employ adequate data security measures; its continued maintenance and

use of the Private Information belonging to Plaintiffs and Class members without having adequate

data security measures; and its other conduct facilitating the theft of that Private Information PSC

has been unjustly enriched at the expense of, and to the detriment of, Plaintiffs and the Class.

       128.      PSC’s unjust enrichment is traceable to, and resulted directly and proximately from,

the conduct alleged herein, including the compiling and use of Plaintiffs’ and Class members’

sensitive Private Information, while at the same time failing to maintain that information secure

from intrusion.

       129.      Under the common law doctrine of unjust enrichment, it is inequitable for PSC to

be permitted to retain the benefits it received, and is still receiving, without justification, from

Plaintiffs and the Class in an unfair and unconscionable manner. PSC’s retention of such benefits

under circumstances making it inequitable to do so constitutes unjust enrichment.



                                                   29
          Case
           CaseMDL
                1:23-cv-11669
                   No. 3083 Document
                              Document71-3
                                       1 Filed
                                           Filed07/25/23
                                                 07/26/23 Page
                                                           Page3030ofof3436




       130.    The benefit conferred upon, received, and enjoyed by PSC was not conferred

officiously or gratuitously, and it would be inequitable and unjust for PSC to retain the benefit.

       131.    Furthermore, Plaintiffs have no adequate remedy at law.

       132.    PSC is therefore liable to Plaintiffs and the Class for restitution in the amount of

the benefit conferred on PSC because of its wrongful conduct, including specifically the value to

PSC of the PII and medical information that was accessed and exfiltrated in the Data Breach and

the profits PSC receives from the use and sale of that information.

       133.    Accordingly, Plaintiffs and the Class are entitled to damages in an amount to be

determined at trial, along with costs and attorneys’ fees incurred in this action.

                                COUNT V – Invasion of Privacy

       134.    Plaintiffs incorporate and reallege all allegations above as if fully set forth herein.

       135.    This count is brought on behalf of all Class members.

       136.    Plaintiffs and Class members had a reasonable expectation of privacy in the Private

Information that PSC possessed and/or continues to possess.

       137.    By failing to keep Plaintiffs’ and Class members’ Private Information safe, and by

misusing and/or disclosing their Private Information to unauthorized parties for unauthorized use,

PSC invaded Plaintiffs’ and Class members’ privacy by:

               a.      Intruding into their private affairs in a manner that would be highly
                       offensive to a reasonable person; and

               b.      Publicizing private facts about Plaintiffs and Class members, which is
                       highly offensive to a reasonable person.

       138.    PSC knew, or acted with reckless disregard of the fact that, a reasonable person in

Plaintiff’s position would consider PSC’s actions highly offensive.




                                                 30
          Case
           CaseMDL
                1:23-cv-11669
                   No. 3083 Document
                              Document71-3
                                       1 Filed
                                           Filed07/25/23
                                                 07/26/23 Page
                                                           Page3131ofof3436




       139.      PSC invaded Plaintiffs’ and Class members’ right to privacy and intruded into

Plaintiffs’ and Class members’ private affairs by misusing and/or disclosing their private

information without their informed, voluntary, affirmative, and clear consent.

       140.      As a proximate result of such misuse and disclosures, Plaintiffs’ and Class

members’ reasonable expectation of privacy in their Private Information was unduly frustrated and

thwarted. PSC’s conduct amounted to a serious invasion of Plaintiffs’ and Class members’

protected privacy interests.

       141.      In failing to protect Plaintiffs’ and Class members’ Private Information, and in

misusing and/or disclosing their Private Information, PSC has acted with malice and oppression

and in conscious disregard of Plaintiffs’ and the Class members rights to have such information

kept confidential and private, in failing to provide adequate notice, and in placing its own

economic, corporate, and legal interests above the privacy interests of its millions of individuals.

Plaintiffs, therefore, seek an award of damages, including punitive damages, on behalf of Plaintiffs

and the Class.

                   COUNT VI – Declaratory Judgment and Injunctive Relief

       142.      Plaintiffs incorporate and reallege all allegations above as if fully set forth herein.

       143.      This count is brought on behalf of all Class members.

       144.      Under the Declaratory Judgment Act, 28 U.S.C. § 2201, et seq., this Court is

authorized to enter a judgment declaring the rights and legal relations of the parties and grant

further necessary relief. Furthermore, the Court has broad authority to restrain acts, such as here,

that are tortious and violate the terms of the federal and state statutes described herein.

       145.      An actual controversy has arisen in the wake of the Data Breach regarding PSC’s

present and prospective common law and other duties to reasonably safeguard Plaintiffs’ and Class



                                                   31
          Case
           CaseMDL
                1:23-cv-11669
                   No. 3083 Document
                              Document71-3
                                       1 Filed
                                           Filed07/25/23
                                                 07/26/23 Page
                                                           Page3232ofof3436




members’ Private Information, and whether PSC is currently maintaining data security measures

adequate to protect Plaintiffs and Class members from further data breaches that compromise their

Private Information. Plaintiffs allege that PSC’s data security measures remain inadequate.

       146.    Plaintiffs and the Class continue to suffer injury as a result of the compromise of

their Private Information and remain at imminent risk that further compromises of their Private

Information will occur in the future.

       147.    Pursuant to its authority under the Declaratory Judgment Act, this Court should

enter a judgment declaring that PSC continues to owe a legal duty to secure Plaintiffs’ and Class

members’ Private Information, to timely notify them of any data breach, and to establish and

implement data security measures that are adequate to secure Private Information.

       148.    The Court also should issue corresponding prospective injunctive relief requiring

PSC to employ adequate security protocols consistent with law and industry standards to protect

Plaintiffs’ and Class members’ Private Information.

       149.    If an injunction is not issued, Plaintiffs and the Class will suffer irreparable injury

and lack an adequate legal remedy. The threat of another breach of the Private Information in

PSC’s possession, custody, and control is real, immediate, and substantial. If another breach of

PSC’s network, systems, servers, or workstations occurs, Plaintiffs and the Class will not have an

adequate remedy at law, because many of the resulting injuries are not readily quantified and they

will be forced to bring multiple lawsuits to rectify the same conduct.

       150.    The hardship to Plaintiffs and the Class if an injunction is not issued exceeds the

hardship to PSC if an injunction is issued. Among other things, if another massive data breach

occurs at PSC, Plaintiffs and the Class will likely be subjected to substantial identify theft and

other damage. On the other hand, the cost to PSC of complying with an injunction by employing



                                                 32
            Case
             CaseMDL
                  1:23-cv-11669
                     No. 3083 Document
                                Document71-3
                                         1 Filed
                                             Filed07/25/23
                                                   07/26/23 Page
                                                             Page3333ofof3436




reasonable prospective data security measures is relatively minimal, and PSC has a pre-existing

legal obligation to employ such measures.

       151.     Issuance of the requested injunction will serve the public interest by preventing

another data breach at PSC, thus eliminating additional injuries to Plaintiffs and the thousands of

Class members whose confidential information would be further compromised.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs, individually, and on behalf of all members of the Class,

respectfully request that the Court enter judgment in their favor and against PSC, as follows:

       A.       That the Court certify this action as a class action, proper and maintainable pursuant
                to Rule 23 of the Federal Rules of Civil Procedure; declare that Plaintiffs are proper
                class representatives; and appoint Plaintiffs’ Counsel as Class Counsel;

       B.       That Plaintiffs be granted the declaratory relief sought herein;

       C.       That the Court grant permanent injunctive relief to prohibit PSC from continuing
                to engage in the unlawful acts, omissions, and practices described herein;

       D.       That the Court award Plaintiffs and the Class members compensatory,
                consequential, and general damages in an amount to be determined at trial;

       E.       That the Court award Plaintiffs and the Class members statutory damages, and
                punitive or exemplary damages, to the extent permitted by law;

       F.       That the Court award to Plaintiffs the costs and disbursements of the action, along
                with reasonable attorneys’ fees, costs, and expenses;

       G.       That the Court award pre- and post-judgment interest at the maximum legal rate;

       H.       That the Court award grant all such equitable relief as it deems proper and just,
                including, but not limited to, disgorgement and restitution; and

       I.       That the Court grant all other relief as it deems just and proper.




                                                 33
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                    1:23-cv-11669
                       No. 3083 Document
                                  Document71-3
                                           1 Filed
                                               Filed07/25/23
                                                     07/26/23 Page
                                                               Page3434ofof3436




                                 DEMAND FOR JURY TRIAL

        Plaintiffs, on behalf of herself and the putative Class, demands a trial by jury on all issues

so triable.

Date: July 25, 2023                            Respectfully Submitted,

                                               /s/ Patrick J. Sheehan
                                               Patrick J. Sheehan (BBO# 639320)
                                               WHATLEY KALLAS, LLP
                                               101 Federal Street, 19th Floor
                                               Boston, Massachusetts 02110
                                               Telephone: (617) 203-8459
                                               Facsimile: (800) 922-4851
                                               psheehan@whatleykallas.com

                                               John G. Emerson (pro hac vice to be filed)
                                               EMERSON FIRM, PLLC
                                               2500 Wilcrest Drive
                                               Suite 300
                                               Houston, Texas 77042-2754
                                               Telephone: (800) 551-8649
                                               Facsimile: (501) 286-4659
                                               Jemerson@emersonfirm.com

                                               Attorneys for Plaintiff and the Proposed Class




                                                 34
JS 44 (Rev. 04/21)                 Case
                                    CaseMDL
                                         1:23-cv-11669
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                                                                      Filed07/26/23
                                                                            07/25/23 Page
                                                                                     Page35
                                                                                          1 of
                                                                                             of136
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                        DEFENDANTS
     ANNA M. MOORE and ASHLEY GWEN LACOMBE,                                                              PROGRESS SOFTWARE CORPORATION
     individually, and on behalf of all others similarly situated,
   (b) County of Residence of First Listed Plaintiff             St. Mary Parish, LA                     County of Residence of First Listed Defendant               Middlesex County, MA
                                (EXCEPT IN U.S. PLAINTIFF CASES)                                                                (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                         NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                    THE TRACT OF LAND INVOLVED.

   (c) Attorneys (Firm Name, Address, and Telephone Number)                                               Attorneys (If Known)
      Patrick J. Sheehan, Whatley Kallas LLP
      101 Federal Street, 19th Floor, Boston, MA 02110
      Telephone: (617) 203-8459
II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                     III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                      (For Diversity Cases Only)                                    and One Box for Defendant)
  1    U.S. Government                 3   Federal Question                                                                    PTF        DEF                                         PTF      DEF
         Plaintiff                           (U.S. Government Not a Party)                      Citizen of This State            1          1      Incorporated or Principal Place         4   ✖ 4
                                                                                                                                                     of Business In This State

  2    U.S. Government               ✖ 4   Diversity                                            Citizen of Another State          ✖ 2          2   Incorporated and Principal Place           5         5
         Defendant                           (Indicate Citizenship of Parties in Item III)                                                           of Business In Another State

                                                                                                Citizen or Subject of a             3          3   Foreign Nation                             6         6
                                                                                                  Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                   Click here for: Nature of Suit Code Descriptions.
          CONTRACT                                              TORTS                             FORFEITURE/PENALTY                       BANKRUPTCY                       OTHER STATUTES
  110 Insurance                       PERSONAL INJURY               PERSONAL INJURY                625 Drug Related Seizure             422 Appeal 28 USC 158             375 False Claims Act
  120 Marine                          310 Airplane                 365 Personal Injury -               of Property 21 USC 881           423 Withdrawal                    376 Qui Tam (31 USC
  130 Miller Act                      315 Airplane Product             Product Liability           690 Other                                28 USC 157                        3729(a))
  140 Negotiable Instrument                Liability               367 Health Care/                                                       INTELLECTUAL                    400 State Reapportionment
  150 Recovery of Overpayment         320 Assault, Libel &             Pharmaceutical                                                   PROPERTY RIGHTS                   410 Antitrust
      & Enforcement of Judgment            Slander                     Personal Injury                                                  820 Copyrights                    430 Banks and Banking
  151 Medicare Act                    330 Federal Employers’           Product Liability                                                830 Patent                        450 Commerce
  152 Recovery of Defaulted                Liability               368 Asbestos Personal                                                835 Patent - Abbreviated          460 Deportation
       Student Loans                  340 Marine                       Injury Product                                                       New Drug Application          470 Racketeer Influenced and
       (Excludes Veterans)            345 Marine Product               Liability                                                        840 Trademark                         Corrupt Organizations
  153 Recovery of Overpayment              Liability              PERSONAL PROPERTY                         LABOR                       880 Defend Trade Secrets          480 Consumer Credit
      of Veteran’s Benefits           350 Motor Vehicle            370 Other Fraud                 710 Fair Labor Standards                 Act of 2016                       (15 USC 1681 or 1692)
  160 Stockholders’ Suits             355 Motor Vehicle            371 Truth in Lending                Act                                                                485 Telephone Consumer
  190 Other Contract                      Product Liability      ✖ 380 Other Personal              720 Labor/Management                 SOCIAL SECURITY                       Protection Act
  195 Contract Product Liability      360 Other Personal               Property Damage                 Relations                        861 HIA (1395ff)                  490 Cable/Sat TV
  196 Franchise                           Injury                   385 Property Damage             740 Railway Labor Act                862 Black Lung (923)              850 Securities/Commodities/
                                      362 Personal Injury -            Product Liability           751 Family and Medical               863 DIWC/DIWW (405(g))                Exchange
                                          Medical Malpractice                                          Leave Act                        864 SSID Title XVI                890 Other Statutory Actions
      REAL PROPERTY                     CIVIL RIGHTS              PRISONER PETITIONS               790 Other Labor Litigation           865 RSI (405(g))                  891 Agricultural Acts
  210 Land Condemnation               440 Other Civil Rights       Habeas Corpus:                  791 Employee Retirement                                                893 Environmental Matters
  220 Foreclosure                     441 Voting                   463 Alien Detainee                  Income Security Act              FEDERAL TAX SUITS                 895 Freedom of Information
  230 Rent Lease & Ejectment          442 Employment               510 Motions to Vacate                                                870 Taxes (U.S. Plaintiff             Act
  240 Torts to Land                   443 Housing/                     Sentence                                                              or Defendant)                896 Arbitration
  245 Tort Product Liability              Accommodations           530 General                                                          871 IRS—Third Party               899 Administrative Procedure
  290 All Other Real Property         445 Amer. w/Disabilities -   535 Death Penalty                   IMMIGRATION                           26 USC 7609                      Act/Review or Appeal of
                                          Employment               Other:                          462 Naturalization Application                                             Agency Decision
                                      446 Amer. w/Disabilities -   540 Mandamus & Other            465 Other Immigration                                                  950 Constitutionality of
                                          Other                    550 Civil Rights                    Actions                                                                State Statutes
                                      448 Education                555 Prison Condition
                                                                   560 Civil Detainee -
                                                                       Conditions of
                                                                       Confinement
V. ORIGIN (Place an “X” in One Box Only)
✖ 1    Original          2 Removed from                     3    Remanded from                4 Reinstated or             5 Transferred from      6 Multidistrict                     8 Multidistrict
       Proceeding          State Court                           Appellate Court                Reopened                    Another District          Litigation -                      Litigation -
                                                                                                                            (specify)                 Transfer                          Direct File
                                       Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                       28 U.S.C. § 1332(d)
VI. CAUSE OF ACTION Brief description of cause:
                                       Class Action alleging unauthorized disclosure to a Third-Pary of nonpublic personal information.
VII. REQUESTED IN     ✖ CHECK IF THIS IS A CLASS ACTION            DEMAND $                           CHECK YES only if demanded in complaint:
     COMPLAINT:          UNDER RULE 23, F.R.Cv.P.                  $5,000,000.01                      JURY DEMAND:             ✖ Yes        No
                                                  Nathaniel Gorton             1:23-cv-11370, 1:23-cv-11394, 1:23-11412, 1:23-cv-11442, 1:23-cv-11552
VIII. RELATED CASE(S)                             F. Dennis Saylor                                                     1:23-cv-11417
                       (See instructions):
      IF ANY                               JUDGE  Paul Levenson                                  DOCKET NUMBER 1-23-cv-11543
DATE                                                                 SIGNATURE OF ATTORNEY OF RECORD
                                                                     /s/ Patrick J. Sheehan
FOR OFFICE USE ONLY

  RECEIPT #                     AMOUNT                                    APPLYING IFP                                    JUDGE                           MAG. JUDGE
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                                                            07/25/23 Page
                                                                     Page36
                                                                          1 of
                                                                             of136
                                                  UNITED STATES DISTRICT COURT
                                                   DISTRICT OF MASSACHUSETTS


1. Title of case (name of first party on each side only) ANNA M. MOORE, et al. v. PROGRESS SOFTWARE CORPORATION



 Category in which the case belongs based upon the numbered nature of suit code listed on the civil cover sheet. (See local
    rule 40.1(a)(1)).

    ✔         ,        40, 41, 4, 535, 830*,  8, 893, R.23, REGARDLESS OF NATURE OF SUIT.

              II.       130, 190, 196, 370, 37, 440, 442, 443, 445, 446, 448,  820*, 840*, .


              III.      120, 150, 151, 152, 153, 195, 210, 220, 24, 310, 315,  330, 340, 345, 350, 355, 360, 36,
                        367, 368, 37,38,422, 423, 40, 460, 462, 463, 465,  510, 530, 540, 550, 555, 
                        625, 690, 7, 791, 861-865, 80,8,950.
                        *Also complete AO 120 or AO 121. for patent, trademark or copyright cases.


3. Title and number, if any, of related cases. (See local rule 40.1(g)). If more than one prior related case has been filed in this
   district please indicate the title and number of the first filed case in this court.

    Shavonne Diggs, et al. v. Progress Software Corporation, Case No. 1:23-cv-11370

4. Has a prior action between the same parties and based on the same claim ever been filed in this court?

                                                                                    YES                NO     ✔
5. Does the complaint in this case question the constitutionality of an act of congress affecting the public interest?          (See 28 USC
   §2403)

                                                                                    YES                NO      ✔
                                                                                                                
    If so, is the U.S.A. or an officer, agent or employee of the U.S. a party?

                                                                                    YES                NO      ✔
                                                                                                                
6. Is this case required to be heard and determined by a district court of three judges pursuant to title 28 USC §2284?

                                                                                    YES                NO      ✔
                                                                                                                
7. Do all of the parties in this action, excluding governmental agencies of the United States and the Commonwealth of
   Massachusetts (“governmental agencies”), residing in Massachusetts reside in the same division? - (See Local Rule 40.1(d)).

                                                                                    YES     ✔
                                                                                                       NO      
              A.        If yes, in which division do all of the non-governmental parties reside?

                        Eastern Division     ✔                 Central Division                       Western Division        
              B.        If no, in which division do the majority of the plaintiffs or the only parties, excluding governmental agencies,
                        residing in Massachusetts reside?


                        Eastern Division                       Central Division                       Western Division        
8. If filing a Notice of Removal - are there any motions pending in the state court requiring the attention of this Court? (If yes,
   submit a separate sheet identifying the motions)

                                                                                    YES                NO      
(PLEASE TYPE OR PRINT)
ATTORNEY'S NAME Patrick J. Sheehan, Whatley Kallas LLP
ADDRESS 101 Federal Street, 19th Floor, Boston, MA 02110
TELEPHONE NO. (617) 203-8459
                                                                                                                (CategoryForm-20.wpd )
